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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT


DAVID KELLY, RICHARD NORKO,                  :
ANNETTE DOBBS and PETER                      :    CIVIL CASE NO. 3:16-cv-00543-VLB
                                             :
DELLOLIO, for themselves and others          :
similarly-situated,                          :
                                             :
      Plaintiffs,                            :
                                             :
      v.                                     :
                                             :
HONEYWELL INTERNATIONAL INC.,                :
                                             :
                                             :
      Defendant.                             :



                               SUMMARY JUDGMENT

      This action having come before the Court on Plaintiffs’ complaint and

cross motions for summary judgment by the parties, before the Honorable

Vanessa L. Bryant, United States District Judge; and

      The Court having considered the full record of the case including

applicable principles of law, and on February 8, 2017 having granted summary

judgment for the plaintiffs who retired before expiration of the agreement and

then on February 28, 2017 having granted summary judgment as to the

defendants with respect to plaintiffs that retired after the expiration of the

agreements; it is hereby

      ORDERED, ADJUDGED and DECREED that judgment is entered and the

case is closed. Dated at Hartford, Connecticut, this 6th day of March, 2017.


                                                 ROBIN D. TABORA, Clerk

                                                 By     /s/CEF               _______
EOD: 03/06/17                                         Chester Fernández, Deputy Clerk
